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Exhibit “C”
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DECLARATION OF THOMAS A. LISK
I, Thomas A. Lisk, hereby declare as follows:

1. Jaman attorney licensed to practice in the Commonwealth of

Virginia and a partner at the Cozen Q’Connor firm,

2, From 2010 to 2018, I was a pariner-at Eckert, Seamans, Cherin &.

Mellott, LLC (“Eckert”).

3. In December 2016, while I was with Eckert, 1 became the partner in
charge of the firm’s relationship with Pace-O-Matic, Inc: (“POM”). 1 remained the
partner in charge of the POM rélationship until I left Eckert in September 2018..

4, POM retained. the Eckert firm to provide legal services rélating to
“legal, regulatory and possible legislative matters.in Virginia” concerning “sales
and niarketing of [POM’s] electronics and software.” ‘The.engagement is
documented in an engagement letter dated December 20, 2016 which. I signed on

behalf.of Eckert, A copy of the engagement letter is attached as Exhibit “1.”
5.. I never discussed with any representative of POM or advised POM
that Eckert would undertake the representation: of POM oiily if POM agreed to

waive any future conflict with Rarx Casino.

 

 
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6: It was not'a condition of Eckert’s.engagemient that POM agree that
Eckert.could represent Parx Casino-or other gaming. clients in amatter or matters
adverse to POM in-Pennsylvania. No such condition was imposed and POM never

consented to.any such condition.

7. I never discussed the waiver language inthe:2016 engagement letter
or the neaning of that language with POM. I am not.aware that aly other Eckert.

representative discussed the: waiver language with POM.

8, Fhe Eckert fitm-acquired, retained and had access to highly sensitive,
confidential and proprietary product and business information concerning POM
and ‘its affiliates and their skill] game products during the representation of POM.
Further, Eckert.regularly engaged in privileged discussions with. POM. Eckert’s
representation of POM focused on advocating, defending and promoting the
continued legality of POM’s skill games and inchided representing POM and its
affiliates in litigation matters, contract matters, government relations matters and
législative matters,

‘9, | was riever made aware of any ‘confidentiality ‘scréen betweei Eckert
personnel who worked off POM matters atd Eckert personnel who worked on Parx

Casine:matters. An Eckert lawyer who worked.on POM matters: met with an

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Eckert partner and Parx Casino representatives in Harrisburg, Pennsylvania

regarding work for Parx Casino in Virginia.
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the.

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Thorfias A, LiSk

foregoing is true and correct.

Date: 3} Zo/ 2020

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Exhibit 1
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Hokert Seamats Cherin & Mellott, LLC TE,  804°788 7740
SunTiust-Centor PAX 804-698 2950
939 Hast Main Street, Suite 1500 www. eckertsedimans.com

Richmond, VA 23219

 

Thomes A. Lisis
tsk@eckertscamans,com
804-788-7150

Deveniber 20, 2016

Michael Pace, President
Pace-O-Matic, Inc,

4150 Blue Ridge Industrial Parkway
Noroross, GA 30071

Re: Pace-O-Matio, Ino./
Enpagement of Eckert Seamans Cherin & Mellott, LEC

Dear Mr. Pace: :

Eckert Seamans Cherin & Mellott, LLC (hereinafter, “Eokert Seamans”) is very pleased
that Pace-O-Matic, Inc, (hereinafter “POM”) has asked our Firm to represent it concerning
certain legal, regulatory and possible legislative matters in Virginia relating to the sales and
marketing of your electronics and software (hereinafter, the “Project”). The purpose of this
engagement letter is to set forth our mutual understanding of the basis-on which we have agteed
to undertake such represetitation, Below you will find the basis of the fee and expense
reimbursement arrangement that will be applicable to our handling of the aforementioned
representation, This letter agreement will become effective upon our receipt of a copy of this
letter signed by an appropriate officer of POM,

The charges for our services will be based upon our regular hourly rates in effect at the
time the sorvices are rendered, Alternatively, many olients prefer to establish a fixed-fee monthly
or quarterly retainer to provide predictability in billings for our representation, Please. let-me
know if suolt an attangement may be of interest to POM, Absent such a fixed-fee arrangement,
T am the primary attorney responsible for your representation-and I have a current rate of $520
per hour, which-will rise to $545 per hour in 2017, If other members in the Firm work on this
matter, thelr time will be billed on the basis of their regular hourly rate in effect at that time: All
of our current rates will be in effect for the calendar year 2016, ‘but are subject to charge
thereafter, usually on an annual basis, Unless otherwise agreed, any additional services requested
to be provided by our Firm beyond the scope of the work involved in this Project will be billed
to POM in accordance with our hourly rates in effect at the time those servites are rendered,

Bills will ‘be submitted to you on a monthly basis and will be itemized describing all time

* expended by each attorney or patalegal involved in the Project, It is our understanding that all
bills rendered to you by us will be paid within thirty days of the date on which such bills are
submitted, We reserve the right to terminate our representation of POM if such bills are not paid
in a timely manner. We algo reserve the right to charge interest on the annount of any unpaid
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Wy See. Miotiael Pace, President
E fo Pave-O-Matic, Inc,
mon oe ‘ . December 20, 2016
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bills after the expiration of this thirty-day period at a rate of one persent (1%) per month,
Sinailarly, we will promptly respond to any. questions you may have concerning any item on a
bill submitted to POM,

POM will be billed for disbursementts and expenses that we incur on jis behalf, including,
without Hrditation, travel costs, mileage, expréss mailings and postage, long distance telephone
costs, telecopying charges and photocopying charges. To the extent that any expenses incurred
ate payable to a third party, Bokert Searnans typloally will pay such expenses and, thereafter,
include the same expense on our monthly invoice to POM. If, however, any expenses to be
incurred aite in excess of $200 and will be payable to a third party, Eckert Seamans will seek .
approval from POM before incurring the expense and, thereafter, we will forward the invoice to
you for direot payment, Please remit such payments within thirty days directly to the third party,

Some of out clients use electronic mail (“E-Mail”) to conduct communications between
them and the Fini, During 1999, the ethics committee of the American Bar Association issued
a Formal Opinion in which it concluded that an attorney could transmit information relating to
the representation of a client by use of unencrypted E-Mail sent over the Internet without
violating the attomey’s responsibilities wader the Rules of Professional Conduct beoause such a
mode of information transmission: afforded a reasonable expectation of privacy from a
technological and legal standpoint, For greater protection of client information, our Firtn has the
capability to enctypt E-Mail. Tf you would like to request the use of encrypted E-Mail, please
contact tne so I vah notify the appropriate personnel in our Information Systems Department.
However, no system of etioryption provides absolute protection of the confidentiality of
information communicated by: E-Mail. If you do not want the Firm to use E-Mail for some, or
all, of its communications with you, please advise us promptly to that effect, We will follow

- your instructions as to the manner in which you want to communicate with the Firm,

Clients are entitled to request and receive olient-owned files unless the Firm asserts a
legally cognizable right to getaitt all of a portion of the files, No client files can be removed from
the Firm and transmitted to any person or entity without the client’s written authdrization. After
a legal representation has ended, elient-owned files will either be returned to the client or kept in
the possession of the Firm in accordance. with its client file retention policy. Under that policy,
client files are retained by the Firm for a fixed time period after which the files may be destroyed,
No olient files will be destroyed unless approved by the responsible Firm attorney on that legal

representation ox by the Firm's Executive Director, Ifthe client requests that its files be returned,
we will strive to do so within ten (10) business days following the client's written request, Files

toleased to a client are no longer subject to the Firm’s client file retention policy.

It is possible that some of our present or future clients will have matters adverse to POM
while we ate representing POM. We understand that POM will have no objection to our
representations of parties with interests adverse to it and that POM will waive any actual or
potential conflict of interest as long as those ehgagements are not substantially related to our
Case 1:20-cv-00292-JPW-JFS Document 13-3 Filed 03/24/20 Page 8 of 8

    
 

eae pam a Michad! Pace, President
Fey ‘Vt. Facs-O-Matlo, Inc,
Ao FE oS POE December 20, 2016
an IANS Page 3
ATTORNEYS AT LAW

representation of POM, We agree that this consent shall not apply in any instance where, as a
result of our representation of POM, we have obtained confidential information that, if known to
such other client, could be used to its material disadvantage.

If this engagement letfer is. consistent with your understanding of our fee and
representation arrangement, please have ari appropriate officer of POM execute the enclosed
copy where indicated and zeturitto me. Tf ‘you have any questions converning any of the matters
discussed in this letter, please do not hesitate to let me know.

We appreciate the opportunity to be of service to you and Pace-O-Matio, Ine. on the
Project ahd look forward to working with you.

     
     

Very truly yours,
ECKERT SEAMANS CHERIN & MBLLOUT, LLC
. By: Naren

 

Thomas A Link /
Accepted and agreed to this , day of December, 2016

PACE-O-MATIC, INC.

By., Lb Warum

Titles, VP fi nt we i Gperaron
